         Case 1:20-cv-01469-DLF Document 121 Filed 12/14/20 Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


BLACK LIVES MATTER D.C., et al.,

                Plaintiffs,

        v.
                                                         No. 1:20-cv-01469-DLF
DONALD J. TRUMP, et al.

                Defendants.


     PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY RELEVANT TO
                 DEFENDANT BARR’S MOTION TO DISMISS

       Plaintiffs respectfully submit this notice of supplemental authority to call the Court’s

attention to the Supreme Court’s recent unanimous decision in Tanzin v. Tanvir, No. 19-71, 2020

WL 7250100 (U.S. Dec. 10, 2020). This case further supports several of Plaintiffs’ arguments

regarding the availability of a Bivens claim. See ECF 98 (Pls.’ Opp. To Def. Barr’s, Federal

Official-Capacity Defs.’, and D.C. Defs.’ Mots. To Dismiss). at 40-41, 50.

       First, Tanzin bolsters Plaintiffs’ argument that Bivens is a remedy with deep historical roots

that Defendant Barr cannot lightly cast aside. See id. at 40-41. Tanzin addressed the question

whether a statute (the Religious Freedom Restoration Act), in authorizing plaintiffs to sue for

“appropriate relief,” included damages as an available remedy. See Tanzin, 2020 WL 7250100, at

*4-*5. Although Tanzin is not a Bivens case, its analysis of the term “appropriate relief” canvassed

the same history on which Plaintiffs rely here and drew a conclusion that squarely supports

Plaintiffs’ point, relying on the work of one of Plaintiff’s amici in this case:

       In the context of suits against Government officials, damages have long been
       awarded as appropriate relief. In the early Republic, “an array of writs ... allowed
       individuals to test the legality of government conduct by filing suit against
       government officials” for money damages “payable by the officer.” Pfander &

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         Case 1:20-cv-01469-DLF Document 121 Filed 12/14/20 Page 2 of 4




       Hunt, Public Wrongs and Private Bills: Indemnification and Govt Accountability
       in the Early Republic, 85 N. Y. U. L. Rev. 1862, 1871–1875 (2010); see id., at
       1875, n. 52 (collecting cases). These common-law causes of action remained
       available through the 19th century and into the 20th. See, e.g., Little v. Barreme, 6
       U.S. (2 Cranch) 170 (1804); Elliott v. Swartwout, 35 U.S. (10 Pet.) 137 (1836);
       Mitchell v. Harmony, 54 U.S. (13 How.) 115 (1852); Buck v. Colbath, 70 U.S. (3
       Wall.) 334 (1866); Belknap v. Schild, 161 U.S. 10 (1896); Philadelphia Co. v.
       Stimson, 223 U.S. 605, 619–620 (1912) (“The exemption of the United States from
       suit does not protect its officers from personal liability to persons whose rights of
       property they have wrongfully invaded”).

Id. at *4; accord ECF 120 (Br. of Fed. Courts Scholars As Amici Curiae) (filed on behalf of James

Pfander, among others), at 6-16. Based on this historical analysis, the Court rejected the

government’s argument that “damages [awards] against government officials ... raise separation-

of-powers concerns,” because “this exact remedy has coexisted with our constitutional system

since the dawn of the Republic.” Tanzin, 2020 WL 7250100, at *5. That point underscores that,

even if the Supreme Court has rejected particular applications of Bivens that raise discrete

concerns, the core idea of Bivens is one that is firmly embedded in, and enjoys strong support from,

our nation’s legal history.

       Second, Tanzin supports Plaintiffs’ argument that Bivens does not pose an inherent

separation-of-powers problem because Congress has embraced it through the FTCA amendments

in 1974 and the Westfall Act of 1988. See ECF 98, at 41 & n.4. Describing the FTCA amendments

of 1974, the Supreme Court long ago found it “crystal clear that Congress views FTCA and Bivens

as parallel, complementary causes of action.” Carlson v. Green, 446 U.S. 14, 20 (1980). And in

Tanzin, the Supreme Court recognized the similar import of the Westfall Act, noting that “damages

against federal officials remain an appropriate form of relief today” because while the Westfall

Act “foreclosed common-law claims for damages against federal officials, it left open claims for

constitutional violations.” 2020 WL 7250100, at *4. Thus, contrary to Defendant Barr’s contention

that a Bivens action in the context of violence by federal officials at a domestic political

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         Case 1:20-cv-01469-DLF Document 121 Filed 12/14/20 Page 3 of 4




demonstration would raise separation-of-powers concerns, ECF 76, at 6-7, refusing to recognize

that there can be a damages claim for constitutional violations would ignore Congress’s view on

the subject.

       Relatedly, the observation that the Westfall Act reflects Congress’s acceptance of Bivens

supports Plaintiffs’ argument as to why the absence of specific protestors’-rights legislation should

not trouble the Court. As Plaintiffs have explained, Congress would not have thought it needed to

legislate to protect Plaintiffs’ rights in circumstances like these. The Supreme Court recognized a

damages remedy for unconstitutional conduct, and Congress has twice endorsed it, including via

the Westfall Act. See ECF 98, at 50. Tanzin confirms Plaintiffs’ understanding of the Westfall Act.

See 2020 WL 7250100, at *5. Further, the Court went on to explain that it is not courts’ job “to

create a new policy-based presumption against damages for individual officials,” as there are “no

constitutional reasons why [the Court] must do so.” Id. Thus, Congress’s failure to enact a specific

statutory remedy for Plaintiffs does not, as Defendant Barr would have it, see ECF 76, at 16-21,

provide a reason to withhold the remedy that the Supreme Court recognized, and that Congress

embraced.

       In sum, Tanzin shows that considerations of history and respect for coordinate branches of

government support the recognition of a Bivens remedy here.




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        Case 1:20-cv-01469-DLF Document 121 Filed 12/14/20 Page 4 of 4




December 14, 2020                                    Respectfully submitted,

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